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 Vincent D. Commisa, Esq. (VC-1594)
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 West Orange, New Jersey 07052
 (973) 821-7722
 Attorney for Debtor


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY

                                                                         Case No.              19-23697

In RE:                                                                   Chapter               7

          DEREK BERNARD BATTLE                                           Hearing Date: 14 April 2020
                                                                                       @ 2:00 p.m.
                                           Debtor.


                      CERTIFICATION OF COUNSEL IN RESPONSE TO
               UNITED STATES TRUSTEE’S MOTION EXTENDING TIME TO FILE
                     A MOTION TO DISMISS CASE OR AN OBJECTION
                         TO DISCHARGE UNDER 11 U.S.C. § 727


          I, Vincent D. Commisa, Esq., of full age, hereby certify and say:

          1.         I am an attorney at law of the State of New Jersey and am the attorney for

the Debtor, Derek Bernard Battle (“Debtor”).

          2.         The Debtor is in the process of forwarding documentation as requested by

the Chapter 7 Trustee as per the normal course of business and by Maggie McGee, Trial

Counsel to the United States Trustee’s Office. All requests are made either in email or by

Mr. Orr at the First Meeting of Creditors.

          3.         The Debtor works for an automobile dealership and as per the COVID-19

virus, he has been laid off as of 21 March 2020. At the present time, he is unsure when

he will be able to return to work as no one knows that process.

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          4.         The Debtor is willing to take a dismissal of his case and would re-file in the

future when the Governor’s mandates and the challenges of the Coronavirus are

eliminated.

          5.         I reserve the right to seek an adjournment of the Motion scheduled for 14

April 2020 or to keep submitting the documentation requested by both Trustees or seeking

an adjournment of this hearing based upon Court mandate and the medical climate as of

today.

          6.         The Debtor is producing the documentation and will continue to do so.

          I certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are wilfully false, I am subject to punishment.



                                                                           /s/ Vincent D. Commisa
Dated: 6 April 2020                                                        Vincent D. Commisa, Esq.




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